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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE GOOGLE PLAY STORE                            MDL Case No. 21-md-02981-JD
                                         ANTITRUST LITIGATION                               Member Case No. 20-cv-05761-JD
                                   8

                                   9                                                        ORDER RE DECERTIFICATION AND
                                                                                            CLASS NOTICE
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                                  12
Northern District of California
 United States District Court




                                  13          After developments in the expert witness opinions at the merits stage, the Court concluded

                                  14   that the opinions of Dr. Hal J. Singer with respect to the merits of the consumer plaintiffs’ antitrust

                                  15   claims must be excluded under Federal Rule of Evidence 702. See Dkt. No. 588.

                                  16          This raises a question of decertification of the consumer class. The Court certified the

                                  17   class, and denied Google’s motion to exclude Dr. Singer’s opinions in support of certification,

                                  18   because the record at the certification stage supported those decisions. See Dkt. No. 383. That is

                                  19   no longer the case. The Court has now excluded Dr. Singer’s pass-through formula and his

                                  20   opinions based on the application of that formula in this litigation. The pass-through formula was

                                  21   an essential element of the consumer plaintiffs’ argument in support of certification.

                                  22   Consequently, the order granting certification should be vacated.

                                  23          As a general rule, the Court is free “to reconsider, rescind, or modify an interlocutory

                                  24   order” such as certification of a class “for cause seen by it to be sufficient.” City of Los Angeles,

                                  25   Harbor Division v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001) (internal citation

                                  26   omitted; emphasis in original). But a district court “retains jurisdiction over an interlocutory order

                                  27   -- and thus may reconsider, rescind, or modify such an order -- until a court of appeals grants a

                                  28   party permission to appeal.” Id. at 886.
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                                   1          That is the situation here. The grant of permission to appeal the certification order has

                                   2   terminated the Court’s authority to decertify the class. The parties are directed to meet and confer,

                                   3   and be prepared to discuss proposed next steps with the Court at the September 7, 2023 status

                                   4   conference. The consumer plaintiffs’ motion to authorize a notice of pendency to the consumer

                                   5   plaintiff class, Dkt. No. 575, is denied.

                                   6          IT IS SO ORDERED.

                                   7   Dated: August 28, 2023

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                                                                                                    JAMES DONATO
                                  10                                                                United States District Judge
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                                  12
Northern District of California
 United States District Court




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